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                                     CERTIFICATE OF SERVICE

I, Peter J. Keane, certify that I am, and at all times during the service of process was, not less than 18
years of age and not a party to the matter concerning which service of process was made. I further certify
that the service of this corrected summons and a copy of the complaint was made May 19, 2022 by:


        Mail Service: Regular, first class United States mail, postage fully pre-paid, addressed to:

                                   SEE ATTACHED SERVICE LIST

        Personal Service: By leaving the process with defendant or with an officer or agent of defendant
        at:


        Residence Service: By leaving the process with the following adult at:


        Certified Mail Service on an Insured Depository Institution: By sending the process by certified
        mail addressed to the following officer of the defendant at:


        Publication: The defendant was served as follows: [Describe briefly]


        State Law: The defendant was served pursuant to the laws of the State of ___________________,
        as follows: [Describe briefly]                                                  (name of state)

        Under penalty of perjury, I declare that the foregoing is true and correct.


Dated: May 19, 2022                                       /s/ Peter J. Keane
                                                          Peter J. Keane (DE Bar No. 5503)
                                                          PACHULSKI STANG ZIEHL & JONES LLP
                                                          919 North Market Street, 17th Floor
                                                          Wilmington, DE 19899-8705 (Courier 19801)




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Art Van Simpson Furniture Adversary Service List
Document No. 238154
03 – First Class Mail
03 – Certified Mail

FIRST CLASS MAIL AND CERTIFIED MAIL
Simpson Furniture Company
Attn: Dale Emmert, Registered Agent
2300 Main Street
Cedar Falls, IA 50613

FIRST CLASS MAIL AND CERTIFIED MAIL
Simpson Furniture Company
2300 Jones Boulevard
Coralville, IA 52241

FIRST CLASS MAIL AND CERTIFIED MAIL
Dale Thomas Emmert
CEO & President, Simpson Furniture Company
3019 Neola Street
Cedar Falls, Iowa 50613




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